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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------         X
                                               :
                                               : No. 19 Civ. 1507 (ER)
TAMITA BROWN, et al.,
                                               :
                            Plaintiffs,        :
                                               : ECF Case
                                               :
                     -against-                 :
                                               :
                                               :
NETFLIX, INC., et al.,                         :
                            Defendants.        :
                                               :
-------------------------------------          X


 DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO
  DISMISS THE COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(c)




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       Defendants Amazon.com, Inc. (“Amazon”), Netflix, Inc. (“Netflix”), and Apple Inc.

(“Apple”) (collectively, “Defendants”) respectfully submit this memorandum in support of their

motion to dismiss the complaint pursuant to Rules 12(b)(6) (for Netflix and Apple) and Rule

12(c) (for Amazon) of the Federal Rules of Civil Procedure.

                                PRELIMINARY STATEMENT

       This copyright infringement action arises from an eight-second snippet of music

allegedly discernable in the background of a brief scene in a feature-length documentary film

entitled “Burlesque: Heart of the Glitter Tribe” (the “Documentary”). The Documentary runs

approximately one hour and sixteen minutes and follows the on- and off-stage activities of a

group of burlesque performers based in Portland, Oregon. The Documentary examines various

aspects of the performers’ lives, personalities, and ideas. It explores the performers’ creative

processes, their personal histories and relationships, and their views on burlesque as an art form

and as a vehicle for cultural commentary. The Documentary’s format is familiar to any viewer

of documentary films: footage of actual events interspersed with studio-style interviews and

narrative voiceovers.

       One brief segment in the Documentary explores the creative development behind one

performer’s act, including by showing excerpts from her actual, on-stage performance in front of

a live audience, during which she dances to Plaintiffs’ song (among others). A portion of

Plaintiffs’ song can be heard for approximately eight seconds as used during the public

performance. Those eight seconds of the Documentary is the sum total of the alleged copyright

infringement identified in the Complaint. No discovery is necessary for this Court to rule that

the Documentary’s incidental and transformative use of eight seconds from the song is a fair use

as a matter of law. Accordingly, Plaintiffs’ copyright infringement claims should be dismissed.



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                                   STATEMENT OF FACTS

       Plaintiffs Tamita Brown, Glen S. Chapman, and Jason T. Chapman (“Plaintiffs”) allege

they created and own the copyright in a 3-minute-36-second song entitled “Fish Sticks n’ Tater

Tots” (the “Song”). Compl., D.E. 1, ¶ 1; see also Declaration of Jay Ward Brown (“Brown

Decl.”), Ex. A (CD copy of Song).1 Plaintiffs assert that that the Documentary contains an

unauthorized reproduction of the Song, and that Defendants are actively reproducing and

distributing the Documentary. Id. ¶¶ 2-3. Plaintiffs characterize the unauthorized reproduction

as occurring “during a scene in which a woman dances to the Song while removing her

clothing,” and they allege that the Song “is prominently featured in the scene.” Id. ¶¶ 20-21

(emphasis added). Based upon these allegations, Plaintiffs assert five copyright-based claims for

relief against all Defendants: (1) direct infringement based on public performance; (2) direct

infringement based on reproduction; (3) inducement of infringement; (4) contributory

infringement; and (5) vicarious infringement. See id. ¶¶ 37-79.

       The one-hour-sixteen-minute Documentary chronicles the lives, ideas, and acts of a

group of burlesque performers in Portland, Oregon. See generally Brown Decl., Ex. B (DVD

copy of Documentary). The Documentary is composed of footage of the performers’ on-stage

acts, interspersed with footage of backstage preparations, off-stage interviews, and scenes from

their everyday lives. The performers also provide their thoughts and commentary on their own

personal biographies, how they discovered the burlesque art form, what it means to them, and




1
 The Court properly may consider the contents of both the Song and the Film on a motion to
dismiss because they are incorporated by reference into the Complaint, e.g., Compl. ¶¶ 1-5, 15-
21, and Plaintiffs clearly rely upon them as the bases for their suit. See, e.g. McDonald v. West,
138 F. Supp. 3d 448, 453 (S.D.N.Y. 2015), aff’d, 669 F. App’x 59, 60-61 (2d Cir. 2016);
Williams v. A & E Television Networks, 122 F. Supp. 3d 157, 159 & n.1 (S.D.N.Y. 2015);
Edwards v. Raymond, 22 F. Supp. 3d 293, 297 (S.D.N.Y. 2014).


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how that art form relates to and reflects a variety of social and cultural issues including, among

others, sexuality, gender, religion, addiction, artistic expression, and the creative process.

       The segment of the Documentary implicated in the Complaint exemplifies the context

and content of the Documentary as a whole. Immediately prior to the segment in question, the

Documentary shows an interview with a journalist, Haley Sweetland Edwards, who describes the

historical entanglement between burlesque and the American craft movement, and opines on

burlesque’s use of crafting techniques as “a means to express a commentary on society delivered

in a sparkly extravaganza.” Brown Decl., Ex. B at 26:46-27:47.

       The Documentary then segues to a scene in which one of the performers, who goes by the

stage name Babs Jamboree, is shown using crafting techniques to prepare her costume as she

discusses the creative process behind one of her acts. Ms. Jamboree describes her fascination

with the notion of a “reverse mermaid”—that is, a creature with the head of a fish and the legs of

a woman. She goes on to explain how she came up with the idea of incorporating the “reverse

mermaid” concept into a food-themed show she had developed with some other performers. As

she describes it, her solution was to create a reverse mermaid costume, then have that character’s

“mermaid rock” transform into a vat of hot oil. The reverse mermaid then steps behind the “hot

oil” prop, undergoes a costume change—taking off her fish head and putting on brown

leggings—and emerging as “fish sticks” to continue the act. See id. at 27:47-30:34.2 Screen

shots from the Documentary depicting this transformation are presented below:




2
  For the Court’s convenience, Defendants have provided a separate DVD exhibit containing just
this three-minute segment from the Film. See Brown Decl., Ex. C.


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       As Ms. Jamboree is describing the creative inspiration behind this portion of her act, the

Documentary intercuts between footage of an interview with her, footage of her creating the

“reverse mermaid” costume, and footage of Ms. Jamboree performing the act itself. The key

moment for purposes of this motion occurs as Ms. Jamboree, on stage, emerges from the vat of

“hot oil” transformed into “fish sticks.” As shown in the Documentary, at that moment in her

act, approximately eight seconds of the Song, consisting of the lyrics “fish sticks n’ tater tots”

repeated five times over a sparse drum beat, can be heard in the background. Id. at 29:55-30:03.

Thereafter, music from a different song begins and the Documentary shows Ms. Jamboree



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continue her performance to that other music for approximately twenty seconds. Id. at 30:04-

30:24. The entire “reverse mermaid” segment featuring Ms. Jamboree lasts just under three

minutes. The approximately eight-second audible repetition of the phrase “fish sticks n’ tater

tots” is the sole basis for Plaintiffs’ claims of infringement.

       Plaintiffs filed the Complaint in this action on February 20, 2019. See Compl. Following

a pre-motion conference conducted on October 16, 2019, the Court granted Defendants leave to

file the present Motion to Dismiss the Complaint. See Minute Entry dated October 16, 2019.

                                           ARGUMENT

I.     STANDARD OF REVIEW

       To survive a motion to dismiss, “a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Trachtenberg v. Dep’t of

Educ., 937 F. Supp. 2d 460, 465 (S.D.N.Y. 2013) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (additional marks and citation omitted)). The “[f]actual allegations must be enough to

raise a right to relief above the speculative level,” and the complaint must plead “enough fact[s]

to raise a reasonable expectation that discovery will reveal evidence of [plaintiff’s claim].” Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555-56 (2007). “A pleading that offers ‘labels and

conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not do.’ Nor does

a complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’”

Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555, 557). On a motion to dismiss, in

addition to the facts alleged in the complaint, a court may consider “documents attached as

exhibits or incorporated by reference in the pleadings and matters of which judicial notice may

be taken.” Samuels v. Air Transp. Local 504, 992 F.2d 12, 15 (2d Cir. 1993). “In copyright

infringement actions, the works themselves supersede and control contrary descriptions of them,




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including any contrary allegations, conclusions or descriptions of the works contained in the

pleadings.” Peter v. Gaito Architecture, LLC v. Simone Dev. Corp., 602 F.3d 57, 64 (2d Cir.

2010) (internal marks and citations omitted).

       “The same standard applicable to Fed. R. Civ. P. 12(b)(6) motions to dismiss applies to

Fed. R. Civ. P. 12(c) motions for judgment on the pleadings.” Bank of N.Y. v. First Millennium,

Inc., 607 F.3d 905, 922 (2d Cir. 2010).3

       Courts in this Circuit have consistently affirmed that copyright infringement claims may

be dismissed pursuant to Fed. R. Civ. P. 12(b)(6) or Fed. R. Civ. P. 12(c) where a comparison of

the two works at issue is sufficient to decide the question of fair use. See, e.g., TCA Television

Corp. v. McCollum, 839 F.3d 168, 178 (2d Cir. 2016) (“[T]his court has acknowledged the

possibility of fair use being so clearly established by a complaint as to support dismissal of a

copyright infringement claim.”); see also Lombardo v. Dr. Seuss Enters., L.P., 279 F. Supp. 3d

497, 504 (S.D.N.Y. 2017) (“Numerous courts in this district have resolved the issue of fair use

on a motion for judgment on the pleadings by conducting a side-by-side comparison of the works

at issue.”), aff’d, 729 F. App’x 131 (2d Cir. 2018); Arrow Prods. v. Weinstein Co., 44 F. Supp.

3d 359, 368 (S.D.N.Y. 2014) (granting judgment on pleadings based on fair use where

“discovery would not provide any additional relevant information in this inquiry. All that is

necessary for the court to make a determination as to fair use are the two [works] at issue.”);

Adjmi v. DLT Entm’t Ltd., 97 F. Supp. 3d 512, 527 (S.D.N.Y. 2015) (granting motion for

judgment on pleadings based on fair use and noting that “[c]ourts in this Circuit have resolved




3
 The Complaint was filed on February 20, 2019, and defendant Amazon.com filed an Answer on
April 22, 2019. See Dkt. 7. Defendants Netflix and Apple were served later and have not yet
answered the Complaint. Accordingly, this motion is styled as one under Rule 12(b)(6) as
brought by Netflix and Apple, and one under Rule 12(c) as brought by Amazon.com.


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motions to dismiss on fair use grounds in this way: comparing the original work to an alleged

[infringing work], in light of applicable law.”).

       This case is properly dismissed at the outset: The Complaint, together with the

Documentary and the Song (which are incorporated into the Complaint by reference) are all that

the Court needs to review to evaluate the question of fair use. Indeed, there is no suggestion in

the Complaint that any other evidence is relevant to the inquiry. And the materials submitted to

the Court on this motion demonstrate that the appearance in the Documentary of the snippet from

the Song was incidental and used for commentary and criticism; was transformative; was from a

previously published work; represented a small fraction of the original Song that was no more

than necessary to accomplish the Documentary’s objectives; and was not a market substitute for

the Song itself in any way. Consequently, this Court can readily analyze the two works at the

pleading stage, and find fair use as a matter of law.

II.    DEFENDANTS’ USE OF THE SONG WAS A FAIR USE

       Defendants’ use of the Song constitutes fair use, a complete defense to claims of

copyright infringement. See 17 U.S.C. § 107 (“[T]he fair use of a copyrighted work . . . is not an

infringement of copyright.”). The Copyright Act specifies four factors that must be considered

to determine whether a particular use is fair: (1) the purpose and character of the use; (2) the

nature of the copyrighted work; (3) the amount and substantiality of the portion used; and (4) the

effect of the use on the market for the original. This is “an open-ended and context-sensitive

inquiry.” Cariou v. Prince, 714 F.3d 694, 705 (2d Cir. 2013) (citations omitted). The “ultimate

test of fair use, therefore, is whether the copyright law’s goal of promoting the Progress of

Science and useful Arts . . . would be better served by allowing the use than by preventing it.”

Castle Rock Entm’t, Inc. v. Carol Publ’g Grp., Inc., 150 F.3d 132, 141 (2d Cir. 1998) (internal




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marks and citations omitted). For the reasons explained below, the four fair use factors weigh

decidedly in Defendants’ favor.

       A.      The Purpose And Character of Defendants’ Use Heavily Favors A Finding of
               Fair Use

       The first statutory factor, the purpose and character of the use, is “[t]he heart of the fair

use inquiry.” Blanch v. Koons, 467 F.3d 244, 251 (2d Cir. 2006) (quoting Davis v. The Gap,

Inc., 246 F.3d 152, 174 (2d Cir. 2001)). In applying this factor, courts look to three criteria.

First, the court’s primary inquiry is whether the defendant used the material for a different or

“transformative” purpose than the original. Id. at 251-52. Second, courts examine whether the

material was used for any of the preamble purposes set forth in the Copyright Act, which include

“criticism, comment, news reporting, teaching, scholarship, or research[.]” 17 U.S.C. § 107.

Finally, if the use is “transformative,” the third criterion of this factor, whether the defendant is a

for-profit or non-profit entity, deserves little consideration. Campbell v. Acuff-Rose Music, Inc.,

510 U.S. 569, 578-79 (1994); NXIVM Corp. v. Ross Inst., 364 F.3d 471, 478 (2d Cir. 2004).

These criteria overwhelmingly favor a finding of fair use here as a matter of law.

               1.      The use was transformative

       “Most important to the court’s analysis of the first factor is the ‘transformative’ nature of

the work.” Bill Graham Archives v. Dorling Kindersley Ltd., 448 F.3d 605, 608 (2d Cir. 2006).

Transformative works “lie at the heart of the fair use doctrine’s guarantee of breathing space

within the confines of copyright . . . and the more transformative the new work, the less will be

the significance of other factors, like commercialism, that may weigh against a finding of fair

use.” Campbell, 510 U.S. at 579 (citation omitted); see also Keeling v. Hars, 809 F.3d 43, 53 (2d

Cir. 2015) (“As a legal matter, the four factors do not each carry equal weight . . . indeed, some

may not be relevant at all. . . . [T]he first factor —‘the purpose and character of the use’—lies at



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the heart of the inquiry . . . while the other three factors are much less important.” (internal marks

and citations omitted)), cert. denied sub nom. Hars v. Keeling, 136 S. Ct. 2519 (2016). A work

is “transformative” when the new work does not “merely supersede[ ] the objects of the original

creation” but “adds something new, with a further purpose or different character, altering the first

with new expression, meaning or message[.]” Campbell, 510 U.S. at 579 (citations omitted). “If

the secondary use adds value to the original—if [the original] is used as raw material,

transformed in the creation of new information, new aesthetics, new insights and

understandings—this is the very type of activity that the fair use doctrine intends to protect for

the enrichment of society.” Castle Rock, 150 F.3d at 141 (internal marks and citation omitted).

“For a use to be fair, it ‘must be productive and must employ the quoted matter in a different

manner or for a different purpose from the original.’” Cariou, 714 F.3d at 706 (quoting Pierre N.

Leval, Toward a Fair Use Standard, 103 HARV. L. REV. 1105, 1111 (1990)).

       There can be no doubt that the use of the eight-second snippet from the Song in the

Documentary is transformative.4 In a general sense, the Documentary is an examination of the

lives, ideas, and artistry of a group of burlesque performers. It is intended to educate and inform

its audience about this unique art form, as well as the backgrounds and motivations of this

particular group of people. The Documentary also functions as a commentary on burlesque’s

place in society, and the various societal forces that have shaped the artists featured in the

Documentary. See generally Brown Decl., Ex. B. This overarching function of the

Documentary constitutes a “new expression, meaning or message” from that of the Song, which



4
  It bears emphasis that the question presented is whether the appearance of the snippet from the
Song in the Documentary qualifies as fair use, not whether Ms. Jamboree’s use of a portion of
the Song in her act is fair. While Defendants believe the latter is also a fair use, that question is
not before the Court.


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relates a humorous tale about a student’s adventures on the way from the classroom to the

cafeteria. See Brown Decl., Ex. A.

        Even if the inquiry is focused on the specific segment of the Documentary in which the

excerpt from the Song appears, the use is clearly transformative. The segment explores the

creative process that one performer—Ms. Jamboree—engaged in to develop an act incorporating

two unrelated elements: a “reverse mermaid” character and a food theme. Ms. Jamboree selected

the Song, which aptly repeats the lyrics “fish sticks and tater tots,” for her transformation into

seafood. It is difficult to conceive of a more direct example of a use demonstrating “raw

material, transformed in the creation of new information, new aesthetics, new insights and

understandings” than that portrayed in this segment. Castle Rock, 150 F.3d at 142 (citation

omitted). Indeed, showing the Documentary’s audience a brief example of Ms. Jamboree’s use

of the Song illustrates not only the “new aesthetic” of her act, but also the transformative process

itself by which she created that new aesthetic. This is the paradigm of a transformative use.

        In similar circumstances, courts regularly find short clips incorporated into documentary

films to be transformative. Indeed, at least one court in this district has opined that “it is difficult

to imagine a use of a short clip in a commentary/documentary that would not qualify as

transformative.” Hofheinz v. Discovery Commc’ns, Inc., Nos. 00 civ. 3802 (HB), 2001 U.S.

Dist. LEXIS 14752, at *16 n.7 (S.D.N.Y. Sept. 10, 2001) (holding use of copyrighted film clips

transformative as used in documentary about the history of science fiction films in part because

defendant “had no interest in [the copyrighted material] in its own right.”). Other courts

confronted with similar—albeit facially much stronger—infringement claims than Plaintiffs

assert here have come to the same conclusion. In Red Label Music Publishing, Inc. v. Chila

Productions, for example, the plaintiff asserted infringement claims based upon video and audio




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clips from a well-known song, the “Superbowl Shuffle,” used in a documentary about the 1985

Chicago Bears football team (whose members performed the song). 388 F. Supp. 3d 975, 978-

79 (N.D. Ill. 2019), appeal docketed, 19-2037 (7th Cir. 2019). Despite the fact that the clips

contained both audio and video, and were far more extensive than the use at issue here,5 the

Court had little trouble finding that the use was transformative because “[i]t is [the documentary

itself] that now serves an expressive function,” not the copyrighted song. Id. at 985 (citing Bill

Graham Archives, 448 F.3d at 611). Similarly, in Threshold Media Corp. v. Relativity Media,

LLC, the court found that a copyrighted song appearing in a scene in a pseudo-documentary film

about online “catfishing” was “highly transformative,” notwithstanding that the song was a focal

point of the scene in which it appeared and substantial portions of the song (between 16 and 41

seconds) were played at least four times. 166 F. Supp. 3d 1011, 1017-19 (C.D. Cal. 2013)

(describing use in film), 1022-23 (explaining transformative nature of use).

       The challenged use here is transformative on two different levels. On one level, Ms.

Jamboree’s use of the Song in her live stage act is transformative in that it incorporates a snippet

of the Song as a small piece of a new artistic work unrelated to the original. And at the second

level, the Documentary is transformative in that it takes Ms. Jamboree’s act and uses it to

illustrate a broader commentary on the burlesque art form and the creative process and

personalities behind it.

       In addition, that the snippet from the Song appears at all in the Documentary is both

incidental and coincidental. The filmmakers did not select the Song themselves or specifically

intend that it appear in the Documentary—rather, they set out to document the creative process



5
 The Court noted that the Bears documentary used 59 seconds of video footage from
“Superbowl Shuffle,” Red Label Music, 388 F. Supp. 3d at 985, as compared to the eight seconds
of audio at issue here.


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behind Ms. Jamboree’s “reverse mermaid” act, including her performance of the act on stage,

and it happens that she chose a portion of the Song to use in her act. Courts reviewing similar

situations have had little trouble concluding that such coincidental use was transformative and

fair. For example, in Italian Book Corp. v. ABC, the court found transformative fair use where a

news broadcast at a street fair captured a copyrighted song in the background. 458 F. Supp. 65,

68-71 (S.D.N.Y. 1978). The court explained that the “incidental and fortuitous reproduction . . .

of a work located in the scene of an event being reported” was a paradigmatic example of fair

use, and that therefore the fair use defense “must be sustained.” Id. at 71. Other courts have

reached the same conclusion in analogous circumstances. See, e.g., Sandoval v. New Line

Cinema Corp., 973 F. Supp. 409, 413 (S.D.N.Y. 1997), aff’d, 147 F.3d 215 (2d Cir. 1998)

(incidental use of photos as part of movie set was transformative); Higgins v. Detroit Educ.

Television Found., 4 F. Supp. 2d 701, 705-06 (E.D. Mich. 1998) (incidental use of song in

educational program was transformative). Indeed, even Plaintiffs do not allege that the use of

the snippet of the Song in the Documentary was anything other than incidental and coincidental,

nor could they so allege: The Documentary itself, including the context in which the lyric from

the Song appears, makes plain that the intent was to capture the act, not the Song.6




6
  The fact that the alleged infringement was incidental and fortuitous also supports dismissal of
the Complaint on an entirely separate ground: that the use was de minimis. In cases alleging
copyright infringement, “[t]he de minimis doctrine essentially provides that where unauthorized
copying is sufficiently trivial, the law will not impose legal consequences.” Davis, 246 F.3d at
172 (internal marks and citations omitted). That doctrine is applicable here, where the snippet in
question was but a tiny piece of the Song itself and an even more trivial component of the Film.
See, e.g., Gottlieb Dev. LLC v. Paramount Pictures Corp., 590 F. Supp. 2d 625, 632 (S.D.N.Y.
2008) (use was de minimis where copyrighted image appeared for only “a few seconds at a time”
over the course of a three-minute scene that was itself part of a longer film); Gayle v. HBO, Inc.,
No. 17-CV-5867 (JMF), 2018 U.S. Dist. LEXIS 73254, at *7 (S.D.N.Y. May 1, 2018) (use was
de minimis where graffiti appeared briefly in background of television program), appeal
dismissed, 2018 U.S. App. LEXIS 33035 (2d Cir. Sept. 13, 2018).


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                 2.      The use was for criticism and commentary

          The Second Circuit repeatedly has held that “there is a strong presumption that factor one

favors the defendant if the allegedly infringing work fits the description of uses described in

§ 107.” NXIVM Corp., 364 F.3d at 477 (quoting Wright v. Warner Books, Inc., 953 F.2d 731,

736 (2d Cir. 1991)); see also Arica Inst., Inc. v. Palmer, 970 F.2d 1067, 1077 (2d Cir. 1992)

(same).

          That presumption applies to the Documentary here. The non-fiction nature of the

Documentary signals to the viewer that it is presented as a commentary and/or critical evaluation

of the burlesque art form, as well as the unique confluence of factors that led to its development

and that led this particular group of performers to find their artistic homes within this non-

mainstream art form. The Documentary is replete with exactly the kinds of cultural and social

insights and opinions that a viewer would expect to find in cultural commentary of this type, on

topics such as gender, sexuality, and the artistic process. Courts in similar circumstances

regularly recognize that documentary films offer “criticism” or “comment” as contemplated by

section 107. See, e.g., Lennon v. Premise Media Corp., L.P., 556 F. Supp. 2d 310, 322

(S.D.N.Y. 2008) (documentary examining debate between evolution and intelligent design);

Hofheinz, 2001 U.S. Dist. LEXIS 14752, at *11-16 & n.7 (documentary about history of horror

films); Red Label Music, 388 F. Supp. 3d at 984 (documentary about 1985 Chicago Bears

football team); Nat’l Ctr. for Jewish Film v. Riverside Films LLC, No. 5:12-cv-00044-ODW,

2012 U.S. Dist. LEXIS 131831, at *7-8 (C.D. Cal. Sep. 14, 2012) (documentary about Jewish

author Sholem Aleichem). The same is true of the Documentary in this case.7


7
  It is irrelevant that the cultural commentary offered in the Film is about burlesque, which some
might view as a “low-brow” art form. Cf. Compl. ¶ 18 (describing film as “centered on strippers
in Oregon.”). Regardless of one’s views on the merits of a particular subject, fair use protects all
aspects of human endeavor. Bill Graham Archives, 448 F.3d at 609 (“No less a recognition of


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               3.      The for-profit nature of the use is irrelevant

       Finally, while courts applying the first fair use factor consider whether the allegedly

infringing work has a commercial or a non-profit educational purpose, see Cariou, 714 F.3d at

708, the Supreme Court has made clear that, where material is used for a transformative purpose

favored by section 107, the defendant’s status as a commercial entity does not create any

presumption of unfairness. Campbell, 510 U.S. at 584; see also NXIVM Corp., 364 F.3d at 477

(“The Supreme Court in Campbell rejected the notion that the commercial nature of the use

could by itself be a dispositive consideration.”). That is because “nearly all of the illustrative

uses listed in the preamble paragraph of § 107. . . are generally conducted for profit.” Campbell,

510 U.S. at 584 (internal marks and citation omitted); see also Cariou, 714 F.3d at 708 (same);

Swatch Grp. Mgmt. Servs. v. Bloomberg L.P., 756 F.3d 73, 83 (2d Cir. 2014) (recognizing that

“almost all” media enterprises are commercial and therefore assigning “relatively little weight”

to this factor (alterations and citation omitted)); Castle Rock, 150 F.3d at 141 (“We . . . do not

give much weight to the fact that the secondary use was for commercial gain.”); Kane v. Comedy

Partners, No. 00 Civ. 158, 2003 U.S. Dist. LEXIS 18513, at *9 (S.D.N.Y. Oct. 16, 2003) (“the

Supreme Court has discounted the force of commerciality in applying a fair use analysis”).

       Because the use of the Song in the Documentary was transformative and for the purpose

of commentary, the “commercial” factor is of little—if any—significance. “[T]he more

transformative the new work, the less will be the significance of other factors, like

commercialism, that may weigh against a finding of fair use.” Campbell, 510 U.S. at 579.

Courts in this Circuit repeatedly have deemed this factor largely irrelevant to the fair use analysis



biographical value is warranted in this case simply because the subject made a mark in pop
culture rather than some other area of human endeavor.”).



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where a work was transformative. See, e.g., Authors Guild v. Google, Inc., 804 F.3d 202, 219

(2d Cir. 2015) (commercial motivation deemed of little significance where there was a “highly

convincing transformative purpose, together with the absence of significant substitutive

competition.”), cert. denied, 136 S. Ct. 1658 (2016); Blanch, 467 F.3d at 254 (where new work

was substantially transformative, “[w]e therefore discount the secondary commercial nature of

the use” (alteration and citation omitted)); Arrow Prods., Ltd. v. Weinstein Co., 44 F. Supp. 3d

359, 370 (S.D.N.Y. 2014) (“[T]he court does not place very much significance on this part of the

first fair-use factor given the transformative nature of the work.”).

       B.      The Nature Of The Copyrighted Work Is At Best A Neutral Factor, and
               Should Be Accorded Little Weight

       In assessing the nature of the copyrighted work, courts consider “(1) whether the work is

expressive or creative, . . . with a greater leeway being allowed to a claim of fair use where the

work is factual or informational, and (2) whether the work is published or unpublished, with the

scope for fair use involving unpublished works being considerably narrower.” Blanch, 467 F.3d

at 256 (quoting 2 Howard B. Abrams, The Law of Copyright § 15:52 (2006)).

       While the Song is a creative work, it is undisputed that the Song has long been published

and is available to the public on highly-trafficked websites such as Apple iTunes and YouTube,

see, e.g., Compl. ¶ 53, which weighs in favor of fair use. In any event, the law is clear that “the

second fair-use factor has limited weight” when the use is transformative. Blanch, 467 F.3d at

257; see also Bill Graham Archives, 448 F.3d at 612 (“the second factor may be of limited

usefulness where the creative work of art is being used for a transformative purpose.”).

       C.      The Amount And Substantiality Of The Portion Used Weighs Heavily In
               Favor Of Fair Use

       As to the third factor, “the amount and substantiality of the portion used in relation to the

copyrighted work as a whole,” 17 U.S.C. § 107, a court considers not just the quantity used, but


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“whether the quantity and value of the materials used are reasonable in relation to the purpose of

the copying.” Cariou, 714 F.3d at 710 (alteration omitted) (quoting Blanch, 467 F.3d at 257).

The secondary use “‘must be [permitted] to “conjure up” at least enough of the original’ to fulfill

its transformative purpose.” Id. (quoting Campbell, 510 U.S. at 588). This factor weighs heavily

in favor of fair use, for at least two reasons:

        First, the eight-second snippet of the Song comprises just 3.7% of its total length. See

Brown Decl., Ex. A (the Song). “The Second Circuit has consistently found fair use in cases

where only a small portion of the original work was used.” Video-Cinema Films, Inc. v. CNN,

Inc., No. 98 Civ. 7128 (BSJ), 2003 U.S. Dist. LEXIS 4887, at *10 (S.D.N.Y. Mar. 31, 2003); see

also Monster Comm’cns., Inc. v. Turner Broad. Sys., Inc., 935 F. Supp. 490, 495 (S.D.N.Y.

1996) (use of only 2.1% of original work “strongly favors” finding of fair use); Red Label Music,

388 F. Supp. 3d at 986 (use of 2% of audio and 17% of video of song favored finding of fair

use). Moreover, while the Documentary does use the specific lyrics from which the Song takes

its name, it does so without the Song’s music (apart from a faint drum track behind the intonation

of the words), and it uses only a portion of the Song’s chorus in which the lyrics appear.

Compare Brown Decl., Ex. B at 29:55-30:03 (portion of Song used in Documentary), with Ex. A

at 1:07-1:36 (full chorus of Song with music).

        Second, the Documentary’s use of the Song is “reasonable in relation” to its purpose.

Cariou, 714 F.3d at 710 (citation omitted). The Song appears in a portion of the Documentary in

which Ms. Jamboree explains the creative process through which she developed her act. Central

to that process is the combination of two ideas: creating a “reverse mermaid” character, and

integrating it into a show with an overall theme of food. Ms. Jamboree’s solution to that creative

quandary was to have the reverse mermaid transform into fish sticks by immersing herself in a




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vat of hot oil. The Documentary could not have adequately presented this creative process to its

viewers without showing the transformation itself—which is the precise portion of the act, and

therefore of the Documentary, in which the lyrics from Plaintiffs’ Song appears.

       D.      The Use Has No Effect On The Potential Market

       Finally, the fourth factor weighs in favor of fair use because the eight-second snippet of

the Song, incorporated into the Documentary solely through its use as background music for Ms.

Jamboree’s “reverse mermaid” act, is not a substitute for the Song itself and therefore does not

affect its potential market. As the Second Circuit stated in Cariou, “[w]e have made clear that

‘our concern is not whether the secondary use suppresses or even destroys the market for the

original work or its potential derivatives, but whether the secondary use usurps the market of the

original work.’” 714 F.3d at 708 (quoting Blanch, 467 F.3d at 258). A secondary use “usurps”

the market “where the infringer’s target audience and the nature of the infringing content is the

same as the original.” Id. at 709. In other words, “[t]he focus . . . is on whether defendants are

offering a market substitute for the original.” NXIVM Corp., 364 F.3d at 481. “The more

transformative the secondary use, the less likelihood that the secondary use substitutes for the

original.” Cariou, 714 F.3d at 709 (alteration and citation omitted); Bill Graham Archives, 448

F.3d at 614-15 (secondary use does not affect the market for the original where it is

“transformatively different from their original expressive purpose”); accord Davis, 246 F.3d at

175 (fair use will be found where harm “resulted from a transformative secondary use”).

       The eight seconds of the Song “used” in the Documentary does not usurp the Plaintiff’s

audience for the Song as it in no way acts as a market substitute. Indeed, for all of the reasons

explained in Section II.A.1 above, the use of the snippet from the Song in the Documentary is

highly transformative and therefore does not affect the market for the original under established

Second Circuit precedent. Cariou, 714 F.3d at 709. Plaintiffs allege that they “created the Song


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with children being the intended audience.” Compl. ¶ 17. They further allege that the

Documentary is “centered on strippers in Oregon,” id. ¶ 18, and that the alleged infringement

occurs “during a scene in which a woman dances to the Song while removing her clothing,” id.

¶ 20. Presumably, these allegations are intended to demonstrate that Defendants have somehow

tarnished the Song by causing it to be associated with the adult themes of the Documentary. But

that is irrelevant under copyright fair use law. The focus of the inquiry for the fourth fair use

factor is on whether the allegedly infringing use “usurps” the relevant market. Cariou, 714 F.3d

at 708. Moreover, courts have consistently held that, as a matter of law, an adult-themed work

cannot usurp the market for a work aimed at children, as the markets are entirely different. See,

e.g., Lombardo, 279 F. Supp. 3d at 512 (noting that there was “virtually no possibility” of

usurpation where original work was “a children's book intended for an all-ages audience” and

allegedly infringing work was “clearly intended for adult audiences”); Mattel, Inc. v. Pitt, 229 F.

Supp. 2d 315, 324 (S.D.N.Y. 2002) (“adult” Barbie dolls featured on website did not “pose any

danger of usurping demand for Barbie dolls in the children’s toys market” because the “sale or

display of ‘adult’ dolls does not appear to be a use Mattel would likely develop or license others

to develop”); CCA & B, LLC v. F + W Media Inc., 819 F. Supp. 2d 1310, 1323 (N.D. Ga. 2011)

(finding fair use in part because “it is highly unlikely that consumers will choose an

inappropriate-for-children parody in lieu of the wholesome” original). The fourth fair use factor

thus weighs decisively in favor of a finding of fair use.

                                         CONCLUSION

       At bottom, the defense of fair use requires a court to evaluate “whether the copyright

law’s goal of ‘promoting the Progress of Science and useful Arts’ . . . would be better served by

allowing the use than by preventing it.” Castle Rock, 150 F.3d at 141 (citations omitted). That



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question is easily answered here. It is evident from viewing the Documentary and listening to

the Song that the allegedly infringing use was incidental, transformative, minimal, and had no

reasonable ability to affect—let alone usurp—the market for the Song itself. For these reasons,

and all of the reasons set forth above, the Court should enter an order dismissing Plaintiffs’

claims against Defendants in their entirety, with prejudice, along with any other relief that the

Court finds just and proper.

Dated: November 13, 2019
                                                      Respectfully submitted,

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